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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                 4:15CR3024
       vs.
                                                           DETENTION ORDER
ANTHONY SHAQUILLE HARRIS,
                     Defendant.



       After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. §
3142(f), for the reason’s set forth in the court’s prior order, (filing no. 28), the defendant
will remain detained pending trial.


                              Directions Regarding Detention


       The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable,
from persons awaiting or serving sentences or held in custody pending appeal. The
defendant must be afforded a reasonable opportunity to consult privately with defense
counsel. On order of United States Court or on request of an attorney for the
Government, the person in charge of the corrections facility must deliver the defendant to
the United States marshal for a court appearance.


       March 18, 2015.

                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
